Case 3:15-cv-30003-KAR Document 39 Filed 05/31/16 Page 1 of 3

UN|TED STATES D|STR|CT COURT
FOR THE D|STR|CT OF MASSACHUSE'ITS

 

|\/lADEL|NE B. COHEN
Plaintiff,

v. CivilAction No.: 3:15-CV-30003
PETER A. ALBANESE, D.l\/l.D.
AND CONNECT|CUT VALLEY
ORAL SURGERY
ASSOC|ATES, P.C.
Defendants.

vvvvvvva`/vv

 

STlPULATlON OF D|SM|SSAL
The parties to the above-entitled action, pursuant to the provisions of
Fed.R.Civ.P. 41 (a)(1)(ii)l by and through their respective attorneys, hereby Stipulate
and agree that all claims asserted by the plaintiffl l\/ladeline B. Cohen,‘ against the
defendants Peter A. A|banese, D.l\/l.D., and Connecticut Valley Ora| Surgery
Associates, P.C., be Dismissed, with prejudice, With each party to bear her/his/its own

costs, and With all rights of appeal being Waived.

Case 3:15-cv-30003-KAR Document 39 Filed 05/31/16 Page 2 of 3

Respectfu||y submitted,

The P|aintiff,
|VlADELlNE B. COHEN
By Her Attorneyl

l\

    
  

rank J. Riccio,Esq., B # 546411
5 Braintree Hi|| Office Park,

uite 208

Braintree, l\/IA 02184
781-380-4373

f`|riccio@socia|aw.com

   

The Defendants,

PETER A. ALBANESE, D.|\/|.D. AND
CONNECT|CUT VALLEY ORAL
SURGERY ASSOC|ATES, P,C.

n Fi Epstein cohen, BBo #543136
R chaei E. o' Day, eeo #631748
d

ler| Cohen\ Harvey| Wakeman| Guekguezian, LLP
75 Federal Street, 10"‘ F|oor
Boston, l\/lassachusetts 02110
617-423-6674
ecohen@ad|ercohen.com
rodav@ad|ercohen.com

 

Case 3:15-cv-30003-KAR Document 39 Filed 05/31/16 Page 3 of 3

CERT|F|CATE OF SERV|CE

 

l. Rachael E_.O’ Day, hereby certify that l\/lay 31, 2016, this document Was filed with the
ECF system to be electronically served upon all registered participants as identified on the
Notice of Electronic Fi|ing.

/s/ Rachae| E. O’ Day
Dated: lV|ay 31, 2016

 

Rachae| E. O' Day, BBO #681748

